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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            )   Case No. 2:09-CR-00074 JAM
                                          )
12                      Plaintiff,        )   ORDER DENYING DEFENDANT’S
                                          )   MOTION FOR ACQUITTAL (RULE 29)
13        v.                              )
                                          )
14   DUANE ALLEN EDDINGS,                 )
                                          )
15                      Defendant.        )
                                          )
16

17        This matter is before the Court on Defendant Duane Eddings’

18   (“Eddings”) Motion for Acquittal.        Eddings moves the Court for an

19   order granting a motion for judgment of acquittal on Counts 3 and 4

20   of the Superseding Indictments, arguing that there was insufficient

21   evidence from which the jury could reasonably find Eddings guilty;

22   and Counts 8, 9 and 10 of the Superseding Indictment on the grounds

23   that the government either constructively amended the indictment at

24   trial or fatally varied from the indictment. For the reasons set

25   forth below, Eddings Motion for Acquittal is DENIED.

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 1                            I.    COUNTS 8, 9 AND 10

 2        A.     Constructive Amendment

 3        After an indictment has been returned and criminal proceedings

 4   are underway, the indictment’s charges may not be broadened by

 5   amendment, either literal or constructive, except by the grand jury

 6   itself.    United States v. Adamson, 291 F.3d 606, 614 (9th Cir.

 7   2002).    Constructive amendment of an indictment may be found where

 8   1) “there is a complex set of facts [presented at trial] distinctly

 9   different from those set forth in the charging instrument,” or 2)
10   “the crime charged was substantially altered at trial, so that it

11   was impossible to know whether the grand jury would have indicted

12   for the crime actually proved.”          United States v. Adamson, 291 F.3d

13   606, 615 (9th Cir. 2002).

14        Eddings argues that the Superseding Indictment was

15   constructively amended when the government proved wire and mail

16   frauds different than those alleged in Counts 1-7 of the

17   superseding indictment to support an element of money laundering,

18   that the money or property at issue be derived unlawfully.            Eddings

19   points to language in the money laundering counts that the property

20   at issue in those counts was “derived from specified unlawful

21   activity, that is, Mail Fraud . . . as alleged in Counts One

22   through Four . . .; and Wire Fraud . . . as alleged in Counts Five

23   through Seven of this Superseding Indictment.”

24        The government generally argues that Eddings reads too much

25   into the “as alleged in” language because that language does not

26   indicate that the particular wire or mailing in the referred to
27   counts will necessarily serve as the predicate unlawfully obtained
28   funds.


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 1        In United States v. Randall, 171 F.3d 195 (4th Cir. 1999), two

 2   brothers were arrested for various counts related to a conspiracy

 3   to distribute crack.     Id. at 198.         The § 924(c) charge was for

 4   knowingly using and carrying a firearm in the commission of a drug

 5   crime.   Id. at 201.   The indictment further stated that the

 6   predicate drug offense was “specifically, distribution of a

 7   narcotic controlled substance.”            Id.

 8        At trial, however, the evidence presented indicated that the

 9   defendant did not distribute crack when he was arrested.               At the
10   time of arrest, no crack transaction occurred.            Instead, officers

11   arrested the defendants before any sale occurred and found 1.3

12   grams of crack along with a gun in their car.            Id. at 201.

13        The Randall court held that the government amended the

14   indictment in violation of the defendants’ Fifth Amendment rights

15   when it proved a different predicate offense than the one alleged

16   in the indictment. Id. at 210.

17        The court reasoned, with relevance to the present case, “the

18   government was not required to specify on which § 924(c) predicate

19   offense it was relying, because the government did indeed specify

20   in the indictment that it was relying on the predicate offense of

21   distribution, it was not allowed through the presentation of its

22   evidence and its argument, and the district court was not allowed

23   through its jury instructions, to broaden the bases of conviction

24   to include the different § 924(c) predicate offense of possession

25   with intent to distribute.”      Id.

26        In this case, the government used wire fraud and mail fraud as
27   the predicate offenses for the money laundering counts.            Randall
28   does not apply neatly because the government did in fact prove


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 1   those exact predicate offenses.         Eddings argues that the government

 2   amended the indictment because it did not prove the exact offenses

 3   alleged in counts 1-4 and 7.      The government, however, did not

 4   specifically state it was going to prove the facts of those

 5   offenses and show that Eddings laundered the money derived from

 6   them.     It only committed to proving wire and mail fraud as the

 7   predicate offenses for the money laundering counts.          Eddings’

 8   reading of the indictment assumes too much when he reads “as

 9   alleged” to mean specific acts of wire and mail fraud, rather than
10   those offenses generally.

11        Even in U.S. v. Dupre, which Eddings distinguishes as

12   incorrectly decided, the indictment specifically identified the

13   particular wire transfer that would be proven at trial in a “to

14   wit” clause.     United States v. Dupre, 462 F.3d 131, 141 (2d Cir.

15   2006). In this case, however, the government did not commit to

16   proving a particular wire or mailing in its indictment on the money

17   laundering counts. Eddings does not provide case law that extends

18   the constructive amendment rule to facts analogous to the present

19   case.

20        B.      Variance

21        Eddings next argues that if there was no constructive

22   amendment, then there was a variance from the Superseding

23   Indictment that substantially prejudiced his rights.

24        A variance “occurs when . . . the evidence offered at trial

25   proves facts materially different from those alleged in the

26   indictment.”     United States v. Adamson, 291 F.3d 606, 614 (9th Cir.
27   2002) (quoting United States v. Von Stoll, 726 F.2d 584, 586 (9th
28   Cir.1984)).     “[A] variance requires reversal only if it prejudices


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 1   a defendant's substantial rights.”       Von Stoll, 726 F.2d at 587

 2   (internal quotations omitted).

 3        In this case, the Court finds that there was no variance based

 4   on the same reasoning used in the previous section. The government

 5   simply did not commit to proving a particular fact or set of facts

 6   in the money laundering counts, nor did it need to do so. Thus,

 7   there could not be a variance.

 8        In Adamson, the government alleged that the defendant made a

 9   particular misrepresentation in the indictment, but then proved a
10   different misrepresentation at trial.        The scheme the defendant

11   engaged in was a complicated method used to trick Hewlett-Packard

12   into issuing licenses for upgraded server equipment even though the

13   defendant did not appropriately purchase the upgrades.          Id. at 610.

14   In the indictment, the defendant was accused of telling Hewlett-

15   Packard that the servers had not been upgraded at all. At trial,

16   however, the government presented evidence that tended to prove

17   that the defendant did tell HP that the servers had been upgraded,

18   but only neglected to tell HP that the servers had been upgraded

19   without a proper license using an unlawfully obtained proprietary

20   HP program. Id. at 610-11.

21        The Adamson court determined that the variance between what

22   was charged in the indictment and what was proven at trial was a

23   variance that prejudiced the defendant.        Id. at 616.    In that case

24   again, the court held that the government was not required to

25   allege a particular act or misrepresentation in the indictment, but

26   since it did so it was bound to adhere to the indictment.             Id.   The
27   court also found that the variance induced the defendant to prepare
28   a defense that could not adequately respond to the government's


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 1   case.

 2        In this case the Court finds that there was no level of

 3   prejudice similar to that in Adamson where one scheme was alleged

 4   and a different scheme was proven.       For instance, the charges of

 5   wire fraud and mail fraud allege a scheme or artifice to defraud,

 6   and the particular transfers identified in the indictment are only

 7   jurisdictional elements.     See Neder v. United States, 527 U.S. 1,

 8   20–21 (1999).    Thus, Eddings was on notice that his crimes

 9   consisted of the Ponzi scheme and its accompanying fraud, not just
10   a couple of wire transfers or mailings.        Eddings’ response is not

11   persuasive as he only argues that “[a] fair reading of the

12   Superseding Indictment and the discovery provided would lead the

13   defense to anticipate that those individuals specifically named in

14   the mailings and wirings for Counts 1-7 would be used in providing

15   evidence of mail fraud and wire fraud alleged in Counts 8-10.”

16   Def's Reply, at 5.    Eddings’ position, however, goes much further

17   than the circumstance in Adamson where the scheme as alleged was

18   different from the scheme as proved.

19           Eddings’ arguments on both constructive amendment and

20   variance fail because the government did not allege specific

21   instances of wire and mail fraud in the money laundering counts.

22   Eddings has also not persuasively argued that his rights were

23   substantially prejudiced.

24

25                              II.   COUNTS 3 AND 4

26        A.    Insufficient Evidence
27        In considering a motion for judgment of acquittal under Rule
28   29, the standard applied by the Court is whether at the time of the


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 1   motion, viewing evidence in a light favorable to the government,

 2   there is relevant evidence from which the jury can reasonably find

 3   the accused guilty beyond a reasonable doubt of each element of the

 4   crime charged.    United States v. Dior, 671 F.2d 351, 357 (9th Cir.

 5   1982).

 6        In this case, Eddings argues that the government failed to

 7   present evidence from which the jury could reasonably conclude that

 8   his participation in the scheme extended past April 2007.             The date

 9   is relevant because counts 3 and 4 allege involvement at the time
10   of two mailings on May 22 and 23, 2007.        Eddings asserts that the

11   government’s witness Robert Brown only testified that Eddings’

12   period of involvement was shown by deposits into Eddings’ bank

13   account.   Eddings concedes that testimony by IRS Agent Wright

14   established that a deposit was made into Eddings’ account on May 7,

15   2007 and that Eddings transferred $650 to Brown on May 22, 2007.

16        The issue the Court must decide for this motion is whether or

17   not the two transactions in May were substantial enough for a

18   reasonable jury to find beyond a reasonable doubt that Eddings’

19   participation continued through May 23, 2007.

20        The government cites United States v. Puckett, 692 F.2d 663,

21   669 (10th Cir. 1982), for the proposition that a scheme to defraud

22   continues at least as long as participants transfer the proceeds to

23   one another.     The government also points out that the letters at

24   issue were dated May 18, 2007 even if they were mailed several days

25   later.

26        Based on the government's argument, the Court finds that the
27   $650 transfer is adequate to support the jury's finding.              If
28   Eddings was involved in the scheme up until May 22, 2007 and the


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 1   letters at issue were created and sent during that time, there is

 2   evidence that Eddings was involved in the scheme.          It may have been

 3   a scheme in the process of winding down, but that does not change

 4   the fact that the scheme continued and Eddings was involved.

 5   Accordingly, there was sufficient relevant evidence from which the

 6   jury could find Eddings guilty on these two counts and the motion

 7   for acquittal is denied.

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 9   Dated: November 21, 2011                ____________________________
                                             JOHN A. MENDEZ,
10                                           UNITED STATES DISTRICT JUDGE
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